                       Case 8:18-bk-06412-RCT                    Doc 12   Filed 09/18/18   Page 1 of 2



                                                UNITED STATES BANKRUPTCY COURT
                                                    MIDDLE DISTRICT OF FLORIDA
                                                          TAMPA DIVISION


IN RE:

WILLIAM JAVIER COLON LOPEZ,                                               CASE NO. 18-06412-RCT

                                                                          Chapter 7
                                                
                                                      Debtor       /


                                                           NOTICE OF ABANDONMENT

PURSUANT TO SECTION 554, BANKRUPTCY CODE, AND F.R.B.P. 6007, NOTICE IS HEREBY
GIVEN OF THE ABANDONMENT OF THE FOLLOWING PROPERTY THAT IS BURDENSOME
AND HAS NO EQUITY FOR THE BENEFIT OF THE CHAPTER 7 ESTATE:

4008 Kindsfield Dr. Parrish, FL 34219 and a 2015 Toyota Rav 4 vin#2T3WFREV8FW226180

                             NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING
 ______________________________________________________________________________
Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without
further notice or hearing unless a party in interest files a response within 14 days from the date set
forth on the attached proof of service, plus an additional three days for service if any party was
served by U.S. Mail.

If you object to the relief requested in this paper, you must file a response with the Clerk of the
Court at 801 N. Florida Avenue Suite 555 Tampa, FL 33602-3899 and serve a copy on the
movant’s attorney, Traci K. Stevenson at P.O. Box 86690 Madeira Beach, FL 33738 , and any
other appropriate persons within the time allowed. If you file and serve a response within the time
permitted, the Court will either schedule and notify you of a hearing, or consider the response and
grant or deny the relief requested without a hearing.

 If you do not file a response within the time permitted, the Court will consider that you do not
oppose the relief requested in the paper, will proceed to consider the paper without further notice or
hearing, and may grant the relief requested.
_________________________________________________________________________




                              CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a true and correct copy of the above and foregoing has been
furnished by U.S. Mail, electronically or hand delivered this September 18, 2018 to:

U.S. TRUSTEE, 501 Polk St., Ste 1200, Tampa, FL 33602
Debtor, William Javier Colon Lopez, 4008 Kingsfield Dr, Parrish, FL 34219,
            Case 8:18-bk-06412-RCT      Doc 12    Filed 09/18/18   Page 2 of 2



Debtor’s Atty, Omar Carmona-sanchez, 7457 Aloma Avenue Suite 201, Winter Park, FL 32792
And all creditors on the attached mailing matrix


                                         /s/ Traci Stevenson
                                         TRACI K. STEVENSON, Trustee
                                         P.O. Box 86690
                                         Madeira Beach, FL 33738
                                         (727) 397-4838
                                         FBN 942227
                                         tracikstevenson@gmail.com 
